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                         UNITED STATES DISTRICT COURT
                          DISTRICT OF SOUTH DAKOTA
                              SOUTHERN DIVISION


   UNITED STATES OF AMERICA,                              4:18-cr-40018-KES-1

                     Plaintiff,

        v.                                       ORDER DENYING MOTION FOR
                                                     RELIEF UNDER THE
   NICOLE MARIE WATSON,                               FIRST STEP ACT

                     Defendant.


        Defendant, Nicole Watson, filed a pro se motion for compassionate

release under 18 U.S.C. § 3582(c)(1)(A). Docket 51. The Federal Public

Defender filed a notice of intent not to file a supplemental briefing on

Watson’s behalf. Plaintiff, the United States of America, opposes Watson’s

motion. Docket 53. Watson filed a reply to the government’s opposition to her

motion for compassionate release. Docket 55. For the following reasons,

Watson’s motion for compassionate release is denied.

                                  BACKGROUND

      On December 10, 2018, Watson entered a plea of guilty to conspiracy to

distribute a controlled substance in violation of 21 U.S.C. §§ 841(a)(1),

841(b)(1)(A) and 846. See Dockets 32, 37. On March 25, 2019, the court

sentenced Watson to a total of 180 months in custody. Docket 47. Watson’s

projected release date is January 4, 2030. See Find an Inmate, Fed. Bureau of

Prisons, https://www.bop.gov/inmateloc/ (last visited Mar. 8, 2024) (enter

BOP register number 10240-173). Watson is incarcerated at the Federal

Correctional Institution, Waseca (FCI Waseca), a low security federal

correctional institution. See id.; FCI WASECA, Fed. Bureau of Prisons,

https://www.bop.gov/locations/institutions/was/ (last visited Mar. 8, 2024).
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                                 DISCUSSION

       Because sentences are final judgments, a court ordinarily “may not

 modify a term of imprisonment once it has been imposed[.]” 18 U.S.C.

 § 3582(c). One narrow exception is the First Step Act (FSA), passed by

 Congress in 2018. Pub. L. No. 115-391, 132 Stat. 5194 (2018). In pertinent

 part, the FSA amends 18 U.S.C. § 3582(c)(1)(A) to permit incarcerated

 defendants in certain circumstances to file motions with the court seeking

 compassionate release. Id. Compassionate release allows defendants with

 “extraordinary and compelling reasons” to leave prison early. 18 U.S.C.

 § 3582(c)(1)(A)(i). Prior to granting a reduction under 18 U.S.C.

 § 3582(c)(1)(A)(i), a court must consider the 18 U.S.C. § 3553(a) sentencing

 factors. 18 U.S.C. § 3582(c)(1)(A). The burden to establish that a sentence

 reduction is warranted rests with the defendant. See United States v. Jones,

 836 F.3d 896, 899 (8th Cir. 2016).

I.    Administrative Exhaustion

      Before the FSA’s passage, only the BOP Director had the authority to

bring a compassionate release motion on a defendant’s behalf. See 18 U.S.C.

§ 3582(c)(1)(A) (2002), amended by 18 U.S.C. § 3582(c)(1)(A) (2018). With the

enactment of the FSA, Congress has permitted courts to grant a motion for a

reduction in sentence filed by a defendant “after the defendant has fully

exhausted all administrative rights to appeal a failure of the Bureau of Prisons

[BOP] to bring a motion on the defendant’s behalf or the lapse of thirty days

from the receipt of such a request by the warden of the defendant’s facility,

whichever is earlier.” 18 U.S.C. § 3582(c)(1)(A).


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      Watson submitted a request for compassionate release to the warden of

FCI Waseca on September 18, 2023. Docket 52 at 88. The warden denied the

request on October 18, 2023. Id. at 89. When a warden denies a request for a

reduction in sentence, the defendant must “fully exhaust[] all administrative

rights to appeal a failure of the Bureau of Prisons to bring a motion on the

defendant’s behalf[.]” 18 U.S.C. § 3582(c)(1)(A); see also United States v. Smith,

460 F. Supp. 3d 783, 794-97 (E.D. Ark. 2020) (holding the FSA only allows a

defendant to “file a motion for compassionate release if he has fully exhausted

his administrative remedies” within the BOP). The record contains no evidence

that Watson appealed the warden’s denial through the BOP. See Docket 52.

      The record does not reflect that Watson exhausted her administrative

remedies, but the government has not raised this issue and thus has waived

the argument. See United States v. Houck, 2 F.4th 1082, 1084 (8th Cir. 2021)

(characterizing 18 U.S.C. § 3582(c)(1)(A)’s procedural requirements as

“mandatory claim-processing rule[s]” that “must be enforced so long as the

opposing party properly raises it.” (emphasis added)); see also United States v.

Saladino, 7 F.4th 120, 123 (2d Cir. 2021) (“Not a jurisdictional limitation,

§ 3582(c)(1)(A)’s exhaustion requirement is a ‘claim-processing rule[]’ and

accordingly ‘may be waived or forfeited’ by the government.” (quotation

omitted)). Because the government has not raised the issue, the court will

review the merits of Watson’s motion.

II.   Extraordinary and Compelling Reasons

      Congress directed the Sentencing Commission to describe what “should

be considered extraordinary and compelling reasons” for compassionate release


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and fashion “the criteria to be applied and a list of specific examples.” See 28

U.S.C. § 994(t). The Sentencing Commission policy statement, as amended in

November of 2023, responded by identifying six categories of “extraordinary

and compelling reasons” justifying compassionate release. U.S.S.G.

§ 1B1.13(b)(1)-(4), amend. 814; 2023 Amendments in Brief, U.S. Sent’g

Comm’n, https://www.ussc.gov/sites/default/files/pdf/amendment-process/

amendments-in-brief/AIB_814.pdf (last visited Mar. 8, 2024).

      The first four categories pertain to a defendant’s: (1) medical

circumstances; (2) advanced age and deteriorating health in combination with

the amount of time served; (3) compelling family circumstances; and

(4) victimization by correctional staff while in custody. Id. A fifth category exists

for a “circumstance or combination of circumstances that, when considered by

themselves or together with any of the reasons described in paragraphs (1)

through (4), are similar in gravity to those described in paragraphs (1) through

(4).” U.S.S.G. § 1B1.13(b)(5). The sixth category arises if the defendant has

received an usually long sentence, served at least ten years, and a change in

law produces a gross disparity between the sentence being served and the

sentences likely to imposed at the time the motion was filed, after considering

the individual circumstances of the defendant. U.S.S.G. § 1B1.13(b)(6).

      Rehabilitation of the defendant is not an “extraordinary and compelling

reason” in and of itself but “may be considered in combination with other

circumstances in determining whether and to what extent a reduction” in

sentence is warranted. U.S.S.G. § 1B1.13(d). An “extraordinary and compelling


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reason” need not be unforeseen at the time of sentencing to warrant

compassionate release. U.S.S.G. § 1B1.13(e).

      Watson argues that her family circumstances constitute an

“extraordinary and compelling reason” for early release. Docket 51 at 1. The

court does not address any of the other “extraordinary and compelling reasons”

identified by the Sentencing Commission because Watson does not argue that

any of those circumstances exist here.

      A.    Family Circumstances of the Defendant

      The guidelines identify four situations in which the family circumstances

of the defendant constitute an “extraordinary and compelling reason”

warranting early release. The first family circumstance warranting early release

is due to “[t]he death or incapacitation of the caregiver of the defendant’s minor

child or the defendant’s child who is 18 years of age or older and incapable of

self care because of . . . disability or a medical condition.” U.S.S.G.

§ 1B1.13(b)(3)(A). The second reason is due to “the incapacitation of the

defendant’s spouse or registered partner when the defendant would be the only

available caregiver for the spouse or registered partner.” U.S.S.G.

§ 1B1.13(b)(3)(B). The third family circumstance warranting early release is due

to “the incapacitation of the defendant’s parent or registered partner when the

defendant would be the only available caregiver for the parent.” U.S.S.G.

§ 1B1.13(b)(3)(C). The fourth reason is when the defendant is the only available

caregiver for any other immediate family member or similar individual.

U.S.S.G. § 1B1.13(b)(3)(D). Other courts have relied on the BOP program

statement in determining that “incapacitation” requires that the family member

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have suffered a severe injury or illness, leaving them incapable of acting as a

caregiver. See United States v. Delgado, 2023 WL 4552890, at *2 (M.D. Pa. July

14, 2023); United States v. Greer, 2021 WL 2651089, at *2 (E.D. Tex. June 28,

2021); BOP, Program Statement 5050.50 10 (2019), https://www.bop.gov/

policy/progstat/5050_050_EN.pdf (last visited Mar. 8, 2024).

      Watson argues that compassionate release is warranted because her

children’s “current living situation is in the process of being terminated due to

the guardians no longer wanting to deal with [her] children’s mental and

behavioral health issues.” Docket 51 at 1. She further alleges her mother’s

health is in decline. Id. She asserts “compassionate release will allow [her] to

not only care for [her] children but for [her] mother as well.” Id. Sarah Edwards

wrote a letter on Watson’s behalf stating she offered Watson a place to stay

until she can get a place of her own. Docket 54.

      Watson’s Presentence Report (PSR) states she has five children. Docket

40 at 22. Her oldest son, T.S., who was 14 as of March 18, 2019, resides with

his grandfather. Id. As of March 18, 2019, Watson’s three middle children were

ages 7, 8, and 12. Id. When Watson was arrested in 2007, these children were

taken into CPS custody and placed in foster care. Id. Watson reported that she

has regular contact with these children and their foster family brings them to

Sioux Falls every two weeks, so she is able to see them. As of March 18, 2019,

Watson’s youngest child was two years old. Id. Watson reported that she raised

her youngest child until she was arrested, and the child is residing with the

child’s maternal grandmother in Michigan. Id.




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      Watson alleged that the caregivers of her minor children, a foster family,

are unable to provide continued care. Docket 51. The foster mother states her

husband travels, and when she is the sole caregiver for Watson’s children, she

has had to call police “because each of them has gotten physical with” her. Id.

at 2. The foster mother states there is no other person to care for Watson’s

children. Id.

      Watson claims her mother is “increasingly sick” and in the hospital due

to her rapid weight loss and lack of strength. Id. at 1, 5. She alleges her mother

is unable to care for herself. Id. Watson submitted her mother’s medical

records to the court; she failed to cite specific portions that would support a

conclusion that her mother is unable to care for herself or what condition

causes the incapacity. See Docket 51 at 72-115.

      Compassionate release is not warranted in circumstances similar to

Watson’s unless she shows that she is the sole available caregiver to her minor

children or mother. See United States v. Crow, No. CR. 21-50056-JLV, 2023 WL

4493500, at *4 (D.S.D. July 12, 2023); United States v. Cates, 2023 WL

167409, at *3 (M.D.N.C. Jan. 12, 2023); United States v. Hall, 2022 WL

2105975, at *3 (D. Md. June 10, 2022) (“Generally, compassionate release

based on family circumstances has only been granted where a defendant is the

sole available caregiver for his or her minor child or a closely-related and

incapacitated adult.”).

      Throughout her motion and related filings, Watson fails to establish that

she is the sole available caregiver for her children or mother. See generally

Dockets 51, 55. Without evidence that Watson is the only available caregiver,


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the court cannot determine whether Watson’s family circumstances give rise to

“extraordinary and compelling reasons” for her release. See United States v.

Hill, 2020 WL 3037226, at *3 (W.D. Ark. June 5, 2020) (Assuming defendant’s

wife was incapacitated, the court “would still need additional, credible evidence

as to the lack of alternative caregivers in order to make a definitive finding that

[the defendant] is the only available caregiver”); United States v. Nguyen, 2021

WL 4952838, at *1 (D. Minn. Oct. 25, 2021) (denying compassionate release

where the defendant did not show the allegedly incapacitated person was the

sole caregiver of his children”).

      Assuming Watson is the sole caregiver for her children, Watson failed to

provide evidence that she would be eligible to have custody of her children,

what her custodial rights over them might be, or her overall suitability to

function as their primary caregiver.

      Guidance from the BOP, as it relates to U.S.S.G. § 1B1.13 cmt. n.1(C)(i),

instructs that the best interests of the child should be considered by examining

the inmate’s history with her children and behavior before and during custody.

BOP Program Statement 5050.50 at 8–9 (Jan. 17, 2019), https://perma.cc/

98YN-KRQX. One court in this district has cited to this Program Statement in

evaluating the best interest of a child when it determined whether the

defendant was a suitable parent. United States v. Seeking Land, No. 3:15-CR-

30081-RAL, Docket 66 (D.S.D. Nov. 18, 2021) (quoting Id.). The Program

Statement factors include evaluation of whether the inmate has committed

violent acts, whether drugs or other dangerous substances were present in the

home, the amount of contact the parent had with the child, whether there is


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evidence of child abuse or neglect, whether there exists documentation of the

inmate’s parenting skills or termination of parental rights, and the amount of

programming the inmate was involved in while incarcerated. Id.

      The court in Seeking Land cited the defendant’s absence from the child

during most of the child’s life and the defendant’s three felony convictions

when it denied the motion for compassionate release. Id. at 9. The court noted

it could not determine the inmate’s fitness as a parent or whether it would be

in the child’s best interest to have the inmate serve as caregiver but noted its

skepticism given the defendant’s record. Id.

      In the present case, Watson has not made a sufficient showing,

supported by evidence or specific details, to meet several of the BOP factors.

Although Sarah Edwards wrote a letter stating she offered Watson a place to

stay until she can get a place of her own, the letter makes no mention of where

Watson’s children or mother would live. See Docket 54.

      Analyzing the first BOP factor, while Watson has prior convictions for

reckless driving, careless driving, and driving under the influence, there is no

evidence that Watson committed a violent act before or during her period of

incarceration.

      Second, prior to Watson’s incarceration, she had drugs and drug

paraphernalia in her home while caring for her children. She reported that she

began using methamphetamine (meth) at age 18 or 19, used heavily into

adulthood, except while she was pregnant, and she “was never able to stay

away from the drug permanently.” Docket 40 at 24. In 2017, Watson’s children

were present when she was pulled over for driving with a suspended license


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 and the police officer could detect the odor of marijuana coming from the

 vehicle. Id. at 19. A search of her person revealed .8 grams of meth, .6 grams of

 marijuana, one oxycodone pill, ten hydrocodone pills, and a pipe with

 marijuana residue. Id. An additional 1.2 grams of marijuana was found in the

 back seat. Id. In 2007, a confidential informant (CI) conducted three controlled

 buys for the purchase of crack cocaine, and Watson and two of Watson’s

 children were present during all three of the controlled buys. Id. at 15. The

 controlled buys resulted in the purchase of .90 grams of crack cocaine. Id.

       Watson admitted she sold drugs to both support her addition to meth, as

 well as to support her children. Id. at 8.

       Third, prior to Watson’s arrest on the instant offense, she reported that

 she had custody of her youngest child, who was two years old as of March 18,

 2019. Id. at 22. This child now resides with the child’s maternal grandmother

 in Michigan. Id. Her oldest son, who was 14 as of March 18, 2019, resided with

 his grandfather. Id. Watson’s three middle children were taken into CPS

 custody and placed in foster care when she was arrested in 2007. Id. The court

 lacks information on the current relationship between Watson and her

 children.

       Fourth, there is no evidence that Watson committed child abuse or

 neglect of her children. Instead, the PSR notes that Watson would like to

 maintain sobriety and re-establish relationships with her children, which have

 been damaged by her incarceration. Id.




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       Turning to the fifth and sixth factors, there are no documents regarding

 Watson’s parenting skills or obligations nor any records regarding the

 termination of parental rights or loss of custody of Watson’s children.

       Lastly, while incarcerated, Watson has participated in several education

 courses, including Parenting from a Distance and Racquetball. Docket 52 at

 78-79. Watson’s records show she still needs education on a number of

 matters, including family/parenting, antisocial peers, rec/leisure/fitness,

 trauma, and substance abuse. Id. at 80.

       The BOP Program Statement 5050.50 weighs against Watson’s release to

 care for her children. Watson’s efforts toward rehabilitation and her love and

 concern for her children, though admirable and understandable, do not satisfy

 “extraordinary and compelling” circumstances to justify FSA relief given the

 absence of a concrete release plan or better information about where Watson

 and children may live. Watson’s previous repeated choices to involve her

 children in her criminal activities, along with her history of failed treatment,

 recidivism, and criminal activity requires more than just a promise from her

 that she will do better. The record provides insufficient support for any claim

 that Watson should be released to care for her children, or that the best

 interests of her children would be advanced by her release.

 III. Sentencing Factors of § 3553(a)

       The § 3553(a) sentencing factors confirm that compassionate release is

 not warranted. The first factor the court considers is “the nature and

 circumstances of the offense and the history and characteristics of the

 defendant[.]” 18 U.S.C. § 3553(a)(1). Watson was involved in a conspiracy to


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 distribute large quantities of meth. See Docket 40 at 3-8. In the PSR, Watson is

 implicated in many transactions involving the drug. Id. The amount of meth

 involved in the conspiracy exceeded seven kilograms. Id. at 7-8. The large scale

 of this conspiracy weighs heavily against release.

       Waston’s history and characteristics also weigh against a reduction in

 her sentence. Watson has extensive history of drug and alcohol use and

 criminal history beginning in 1997, when she was only thirteen years old. Id. at

 9-18. She has been diagnosed with alcohol, cannabis, and amphetamine

 dependence. Id. She has undergone outpatient treatment for her drug and

 alcohol use. Id. at 24-25. Watson committed the instant offense while under a

 criminal justice sentence for Unauthorized Ingestion of Controlled Substance.

 Id. at 18. Watson’s criminal history score was 9, reflecting the seriousness of

 the crimes previously committed. Id. In 2018, Waston underwent a mental

 health evaluation while in pretrial detention at the Yankton County Jail. Id.

 Watson reported feeling depressed since the birth of her child in 2006 and was

 diagnosed with depressive disorder, anxiety disorder, and amphetamine

 dependence. Id. The court concludes that Watson’s personal characteristics

 weigh against release.

       The next factor the court considers is the need for the sentence “to reflect

 the seriousness of the offense, to promote respect for the law, and to provide

 just punishment for the offense[.]” 18 U.S.C. § 3553(a)(2)(A). Watson committed

 a very seriousness offense. Granting compassionate release would not promote

 respect for the law nor provide just punishment. The PSR outlines that Watson

 was involved in a large meth distribution conspiracy. See Docket 40 at 3-8. The


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 court’s interest in just punishment demands that Watson’s sentence reflect the

 gravity of her offense.

       The remaining § 3553(a) factors also do not support a sentence

 reduction. If the court were to grant compassionate release, similar conduct in

 others would not be deterred because Watson’s punishment would not be

 severe enough to act as an effective deterrent. See 18 U.S.C. § 3553(a)(2)(B).

 The sentence the court imposed was at the mandatory minimum and was one

 month less than the low end of the Guideline range applicable to her offense.

 See Docket 40 at 120-121. This sentence reflected the seriousness of the

 offense. Requiring her to serve the full sentence imposed promotes respect for

 the law, provides just punishment, and protects the public from her.

                                 CONCLUSION

       Watson has failed to satisfy the “extraordinary and compelling reason”

 standard required to grant for relief under the FSA. Thus, it is

         ORDERED that the defendant’s motion for relief under the FSA

  (Docket 51) is denied.

         Dated March 8, 2024.

                                         BY THE COURT:


                                         /s/ Karen E. Schreier
                                         KAREN E. SCHREIER
                                         UNITED STATES DISTRICT JUDGE




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